Case 1:05-cv-OlOOG-.]DT-STA Document 9 Filed 07/08/05 Page 1 of 4 Page|D 5

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IN THE UNITED STATES DISTRICT COURT `.»{.>/

FoR THE WESTERN DISTRICT oF TENNESSEE§ j[,/,
EASTERN DIVISION ’5 `a ,s//?

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SHARON KIMBRELL ASHLEY,
individually and as the Next of Kin to
JIMMY KIMBRELL, deceased,

Plaintiff,

VS. No. l-05-1006-T-An
THE STATE OF TENNESSEE, d/b/a
NORTHWEST CORRECTIONAL

CENTER and dfb/a NORTHWEST

CORRECTIONAL CENTER MEDICAL )
CLINIC, and JOHN DOE, in his official )
capacity as an employee/agent/servant of )
Northwest Correctional Center, )

)
)

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Defendants.

 

ORDER GRANTING DEFENDANT STATE OF TENNESSEE’S MOTION TO
DISMISS

 

Plaintiff Sharon Kirnbrell Ashley, individually and as the Next of Kin to Jimmy
Kimbrell, deceased, brought this action pursuant to 42 U.S.C. § 1983 against Defendants,
the State of Tennnessee; Northwest Correction al Center (“NWCX”); Northwest Correction al
Center Medical Clinic; and unnamed John Does one through five, in their capacities as
employees, agents, and servants of Northwest Correctional Center. Plaintiff alleges that
Defendants failed to treat decedent, an inmate at NWCX, after he complained of pain and,

as a result, are liable for his Wrongful death, damages, and personal injuries sustained. The

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Case 1:05-cv-OlOOG-.]DT-STA Document 9 Filed 07/08/05 Page 2 of 4 Page|D 6

State of Tennessee files this motion to dismiss on the grounds that: l) it is Well-established
that the Tennessee Governmental Tort Liability Act (“TGTLA”) does not apply to the state
or its employees; 2) the Eleventh Amendment bars this action against the Tennessee
Department of Correction (“TDOC”) because it is a state agency; and 3) the Tennessee
Claims Commission retains exclusive jurisdiction over any statutory exceptions to the
doctrine of sovereign immunity. Plaintiff responds and concedes that the Tennessee Claims
Commission has exclusive jurisdiction over her claim.

lt is a well-settled principle of law that the “‘[t]he State of Tennesse, as a sovereign,
is immune from suit except as it consents to be sued.”’ Stewart v. State, 33 S.W.3d 785, 790
(Tenn. 2000) (quoting Brewingt_on v. Brewington, 387 S.W.Zd 777, 779 (Tenn. 1965)).
Tennessee courts have frequently recognized that the Tennessee Constitution modified this
rule of absolute sovereign immunity by providing that “[s]uits may be brought against the
State in such a manner and in such courts as the Legislature may by law direct.” TENN.

CONST. art. I, §§ l7; Stevvart, 33 S.W.3d at 790.

 

“Pursuant to its constitutional power to provide for suits against the state, the
legislature created the Tennessee Claims Commission in 1984 to hear and adjudicate certain
monetary claims against the State ofTennessee.” M, 33 S.W.3d at 790; Lalso_ TENN.
CODE ANN. §§ 9-8-301 to -307 (l999). This jurisdiction is limited only to those claims

specified in TENN. CODE ANN. § 9-8-307(a). Stevvart, 33 S.W.3d at 79(). Tennessee Code

 

Annotated § 9-8-307(a)(l)(N) gives the Commission authority to hear claims arising from

negligent deprivation of statutory or constitutional rights. §_e_e Bl_'yson v. State, 793 S.W.Zd

Case 1:05-cv-OlOOG-.]DT-STA Document 9 Filed 07/08/05 Page 3 of 4 Page|D 7

252, 255 (Tenn. 1990) (finding that a prisoner’s claim of deprivation ofmedical care by the
TDOC Was a statutory right pursuant to TENN. CODE ANN. § 9-8-30] (a)(l)(N)). Further,
TENN. CODE ANN. § 9-8-3()7(a)(l)(E) gives the Commission authority to hear claims
resulting from the State’s “[n]egligent care, custody, and control of persons.”

Because Plaintiff concedes that the Tennessee Claims Commission has exclusive
jurisdiction over her claim, Defendant State of Tennessee’s motion to dismiss is
GRANTED.

lT IS SO ORDERED.

     
 

ES D. TODD
ITED STATES DISTRICT JUDGE

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ISTRICT C URT - WESTERN D'l'lSRCToF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:05-CV-01006 vvas distributed by fax, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

